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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  David E. Hoffman, Jr.,                              )
                                                      )
                            Plaintiff,                )
                                                      )
            v.                                        )     Case No. 1:20-cv-01493-TJK
                                                      )
  Homayoun Ranjijifroody, aka “Howie Jays”;           )     RESPONSE IN OPPOSITION
                                                      )     TO THE MOTION FOR A
  Loansmarter Inc.;                                   )     CLERK’S ENTRY OF
                                                      )     DEFAULT
  Mortgage Enterprise America;                        )
                                                      )
  LoanSmart LLC, Tracy Jouette and Ian Jouette        )
  6415 3rd Street                                     )
  Louviers, CO 80131,                                 )
                                                      )
                            Defendants.               )


        Defendants Homayoun Ranjijifroody aka “Howie Jays,” Loansmarter Inc., Mortgage
Enterprise America (collectively, “the Loansmarter Defendants”), Tracy Jouett, Ian Jouett and
LoanSmart LLC (collectively, “the LoanSmart Defendants”) (all of the foregoing, collectively,
“the Defendants”), respectfully submit the following Response in Opposition to the Motion for
the Clerk’s Entry of Default filed by David Hoffman Jr., pro se, (“Hoffman”) on December 21,
2020.
        Hoffman’s Motion for a Clerk’s Entry of Default should be denied, because none of the
Defendants are in default. In his Motion for the Clerk’s Entry of Default, Hoffman argued that
the Defendants “failed to appear of otherwise respond to the Plaintiff's First Amended Complaint
within the time prescribed in the Federal Rules of Civil Procedure, and the deadlines ordered by
this Court.” This claim is factually untrue.

        Hoffman filed a First Amended Complaint on October 12, 2020. On November 19, 2020,
the Loansmarter Defendants filed a Motion to Dismiss the First Amended Complaint. That
motion is pending before the Court. On December 22, the Court issued a Minute Order granting
the Loansmarter Defendants’ Motion for Extension of Time (ECF document #36) and set the due

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date for the Loansmarter Defendants’ Reply in Support of their Motion to Dismiss to January 13,
2021. Thus, the Loansmarter Defendants are by definition not in default.
       Similarly, the LoanSmart Defendants are also not in default. Hoffman filed a proof of
service1 on the LoanSmart Defendants claiming that answer was due from the LoanSmart
Defendants on December 5, 2020. However, the LoanSmart Defendants filed a motion2 on
December 11, 2020, in accordance with the Court’s Standing Order, requesting an extension of
time to answer or otherwise respond to the First Amended Complaint and on December 22, the
Court issued a Minute Order granting the LoanSmart Defendant’s Unopposed Motion for
Extension of Time (ECF document #35). The due date for the LoanSmart Defendant’s Answer
to the First Amended Complaint is January 5, 2021. Thus, the LoanSmart Defendants are by
definition not in default.
        For the reasons presented herein, and because none of the Defendants are in default, the
Defendants respectfully request that the Court DENY the Plaintiffs’ Motion for a Clerk’s Entry
of Default.
                                                   Respectfully submitted,

                                                   /s/ Minturn Wright
                                                   Minturn Wright (Bar No. 455823)
                                                   SHANNON MULLINS & WRIGHT LLP
                                                   124 S. Royal Street
                                                   Alexandria, Virginia 22314
                                                   Phone: (571) 620-1930
                                                   Fax: (571) 620-1931
                                                   Counsel for the Defendants




1
  The LoanSmart Defendants contend that Hoffman’s service of the First Amended Complaint by certified mail in
Colorado was improper, because Colorado does not allow for service by this method.
2
  Hoffman and the LoanSmart Defendants filed a joint stipulation on December 4, 2020, requesting an extension of
time to answer or otherwise plead to the First Amended Complaint; however, the Court issued an order on
December 8, 2020, requiring the LoanSmart Defendants to file a motion seeking such extension.

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                                    CERTIFICATE OF SERVICE

        I hereby certify that, on this 4th day of January, 2021, a true and correct copy of the
foregoing RESPONSE IN OPPOSITION TO THE MOTION FOR A CLERK’S ENTRY OF
DEFAULT was electronically filed via CM/ECF in the United States District Court for the
District of Columbia, and thereafter electronically served upon:


       Robert Dewitty
       DEWITTY AND ASSOCIATES
       700 Pennsylvania Avenue, SE
       2nd Floor
       Washington, DC 20003
       202-380-9609
       Email: admin@dewittyip.com

       Margaret Anne Anthony
       7401 Eastmoreland Road
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       Annandale, VA 22003
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                                                             /s/Minturn Wright




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